                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF IOWA
                           WESTERN DIVISION

 UNITED STATES OF AMERICA,
              Plaintiff,                              No. CR08-4072-MWB
 vs.                                         REPORT AND RECOMMENDATION
                                                ON MOTION TO SUPPRESS
 BRANDON ALLAN MAUL,
              Defendant.
                               ____________________

       This matter is before the court on a motion to suppress evidence filed on
October 20, 2008, by the defendant Brandon Allan Maul. Doc. No. 24. The plaintiff (the
“Government”) filed a resistance on October 27, 2008. Doc. No. 26. Pursuant to the
Trial Management Order, pretrial motions were assigned to the undersigned for review and
the filing of a recommended disposition. Doc. No. 14. Accordingly, the undersigned held
a hearing on Maul’s motion on October 28, 2008. Assistant U.S. Attorney Shawn Wehde
appeared on behalf of the Government. Maul appeared in person with his attorney,
Alexander Esteves.
       The Government offered the testimony of Tri-State Drug Task Force officer Troy
Hansen, and Sioux City Police officers Jake Noltze and William Nice, Jr. Two exhibits
were admitted into evidence, to-wit: Gov’t Ex. 1, a DVD labeled “Ofc Noltze Front-
Camera 8-12-08,” and Gov’t Ex. 2, a DVD labeled “Ofc Nice Car Camera 8-12-08.”
Both DVDs were made at the time of the traffic stop that gave rise to Maul’s motion to
suppress.
       On August 26, 2008, the grand jury returned a two-count Indictment charging Maul
and a codefendant, Hubert Hawthorne, III, with conspiracy to distribute crack cocaine in
violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A), & 846; and possession, and aiding and
abetting possession, of 50 grams or more of crack cocaine with intent to distribute, in




       Case 5:08-cr-04072-MWB      Document 28      Filed 10/30/08   Page 1 of 8
violation of 21 U.S.C. § 841(a)(1) & (b)(1)(A), and 18 U.S.C. § 2. Doc. No. 1. The
charges against the defendants arose from a traffic stop that occurred on August 12, 2008.
       On that date, TFO Hansen was contacted by TFO Brad Downing who, in turn, had
been contacted by a confidential informant (“CI”). The CI told Downing he had been
approached at an Arby’s restaurant in Sioux City, Iowa, by an individual who stated he
was selling crack cocaine and wanted the CI to do business with him. The CI provided a
description of the individual and the car the individual was driving, and also of a location
where the individual or the vehicle might be located. The vehicle was described as a gold
or tan Chevrolet Blazer.
       TFO Hansen and TFO Downing located a vehicle matching the description given
by the CI in a public parking lot in the area described by the CI. The parking lot was
across the street from a brick apartment building. Hansen and Downing established
surveillance at the apartment building. The officers watched a couple of individuals, later
identified as the defendants Maul and Hawthorne, go back and forth between the Blazer
and the apartment building. Eventually, the individuals got into the Blazer and began
driving south on Pierce Street. The officers planned to follow the Blazer until they
observed a traffic violation, stop the vehicle, and have a K-9 unit do a sniff of the vehicle.
However, before they could stop the vehicle, the defendants returned to the apartment
building, and Maul went back inside.
       When Maul returned to the vehicle, the defendants again drove away, and the
officers followed them to the MidAmerican Building on Douglas Street. Hansen talked
with Officer Noltze, who was in the area, and also with Office Nice, who was in the area
with his K-9 unit. Hansen told Noltze the Blazer was leaving the MidAmerican Building,
traveling northbound on Douglas. He directed Noltze to attempt to establish probable
cause for a traffic stop of the vehicle. He also informed Noltze that the driver of the
vehicle was suspected of selling crack cocaine.


                                              2


       Case 5:08-cr-04072-MWB         Document 28       Filed 10/30/08    Page 2 of 8
       Noltze began following the Blazer shortly after it left the MidAmerican Building.
The vehicle turned eastbound on 5th Street (which is one-way heading east), and then
turned left onto Nebraska (a one-way street heading north). As the driver executed the left
turn, he drove over the curb. Because of this, Noltze decided to stop the vehicle. Noltze
followed the vehicle to the light at Nebraska and 6th Street. When the light changed and
the vehicle proceeded northward, Noltze activated his emergency lights, which also
activated his vehicle’s external camera. See Gov’t Ex. 1.
       Noltze approached Maul, who was driving the Blazer, and informed him of the
reason for the stop. Maul’s eyes were red and watery, and Noltze asked Maul if he had
been drinking. Maul responded, “No.” He asked if there was anything illegal in the
vehicle, and again Maul responded, “No.” While he was talking with Maul, Noltze
detected the odor of marijuana coming from the vehicle. Noltze obtained Maul’s driver’s
license, and the registration and insurance verification on the vehicle. Maul informed
Noltze that he did not own the vehicle. Noltze returned to his police car to call dispatch
and check Maul’s identification.
       After Noltze obtained verification of Maul’s identity, he returned Maul’s driver’s
license and the other documents to Maul. Noltze noticed Maul was nervous and his hands
were shaking, and he could tell from a vein pulsing in Maul’s neck that his heart was
beating rapidly. He asked Maul again if there was anything illegal in the car, and Maul
again responded, “No.” He asked Maul for consent to search his vehicle, and Maul
responded that he did not know why they would need to look inside the vehicle because
there was nothing illegal in it. Noltze walked back and told Nice to execute a K-9 sniff
of the vehicle’s exterior.
       The officers asked Maul and Hawthorne to get out of the car for the K-9 sniff. Nice
testified it is standard procedure to remove a vehicle’s occupants from the vehicle before
conducting an exterior K-9 sniff. Noltze was on the driver’s side with Maul, and Nice was


                                            3


      Case 5:08-cr-04072-MWB         Document 28      Filed 10/30/08    Page 3 of 8
on the passenger’s side with Hawthorne. As Hawthorne got out of the car, an object Nice
immediately recognized as a metal marijuana grinder fell to the ground. Nice asked
Hawthorne if he had any illegal substances on his person, and Hawthorne told Nice to look
for himself.   Nice patted down Hawthorne and located a quantity of marijuana in
Hawthorne’s left front pocket. The officers placed Hawthorne and Maul under arrest, and
conducted a search of the vehicle pursuant to the arrest. During the search, they found a
quantity of crack cocaine.


                                        Discussion
       In his motion to suppress, Maul argues the officers lacked probable cause to
perform the traffic stop. He further argues that even if the traffic stop was justified, the
traffic stop ended when Noltze returned Maul’s driver’s license and other documents to
him, and the officers unlawfully detained him after that time. Noltze is mistaken on both
counts.
       The law is well settled that an officer has probable cause for a traffic stop when any
traffic violation occurs, even a very minor violation. See, e.g., United States v. Gregory,
302 F.3d 805, 809 (8th Cir. 2002) (citations omitted); United States v. Perez, 200 F.3d
576, 579 (8th Cir. 2000). This is true even if the stop is pretextual. See United States v.
Lyons, 486 F.3d 367, 371 (8th Cir. 2007) (citations omitted). Noltze testified he believed
driving over a curb while executing a turn constituted a traffic violation. He stated that
at a minimum, driving over the curb represented failure to maintain control of the vehicle.
For purposes of Maul’s motion, it is irrelevant whether or not Noltze was correct that
driving over the curb constituted a traffic violation. Even if he was incorrect, the standard
is whether Noltze objectively had a reasonable basis for believing a traffic violation had
occurred. If so, then probable cause existed for the stop. Whren v. United States, 517
U.S. 806, 810, 116 S. Ct. 1769, 1772, 135 L. Ed. 2d 89 (1996); United States v. Thomas,


                                             4


      Case 5:08-cr-04072-MWB         Document 28       Filed 10/30/08    Page 4 of 8
93 F.3d 479, 485 (8th Cir. 1996).          The court finds Noltze’s belief that Maul had
committed a traffic violation was objectively reasonable. Moreover, in this case, the court
finds Noltze had probable cause to stop Maul to determine whether he was intoxicated after
Noltze observed Maul drive over the curb.
       Turning to the issue of whether the officers unlawfully detained Maul after the
traffic stop itself was concluded, “a dog sniff may be the product of an unconstitutional
seizure if the traffic stop is unreasonably prolonged before the dog is employed.” Lyons,
486 F.3d at 372 (citing Illinois v. Caballes, 543 U.S. 405, 407-08, 125 S. Ct. 834, 837,
160 L. Ed. 2d 842 (2005)). In the present case, less than eleven minutes elapsed from the
time Maul was stopped until the officers asked Maul and Hawthorne to step out of the
vehicle for the dog sniff. The court finds “[t]he officers acted diligently in pursuit of their
investigation, and the [eleven] minute wait was not excessive under the circumstances.”
Id. (citing United States v. Donnelly, 475 F.3d 946, 951, 954 (8th Cir. 2007) (fifty-nine
minute delay until drug dog arrived); United States v. White, 42 F.3d 457, 460 (8th Cir.
1994) (eighty minute delay until drug dog arrived)). See also United States v. Gregory,
302 F.3d 805, 810 (8th Cir. 2002) (“The officer did not need to have probable cause or
even reasonable suspicion to support [a drug dog sniff] because ‘a dog sniff of the exterior
of a vehicle is not a search.’”) (quoting Unites States v. Morgan, 270 F.3d 625, 629 (8th
Cir. 2001)).
       Once the officers decided to execute a dog sniff of the vehicle, the next issue is
whether the officers had the right to ask Maul and Hawthorne to exit the vehicle during the
dog sniff. It is well settled that an officer can ask the driver to step out of a vehicle during
the course of a traffic stop. See, e.g., United States v. Jones, 269 F.3d 919, 924 (8th Cir.
2001) (citations omitted). However, in the present case, Noltze testified that when he
returned Maul’s driver’s license and other documents to him, the traffic stop was over.
Noltze never asked Maul or Hawthorne to exit the vehicle prior to that time. Instead, the


                                               5


       Case 5:08-cr-04072-MWB          Document 28       Filed 10/30/08     Page 5 of 8
officers asked Maul and Hawthorne to exit the vehicle for purposes of the dog sniff that
was going to occur after the conclusion of the traffic investigation itself. Under these
circumstances, removing Maul and Hawthorne from the vehicle was, in effect, a seizure
of them within the meaning of the Fourth Amendment, and their further detention was an
investigative one beyond the scope of the original traffic stop. See id., 269 F.3d at 926-
27.   This further intrusion could only be lawful if it was based on “a reasonable,
articulable suspicion that criminal activity [was] afoot[.]” Id. (citing United States v.
Bloomfield, 40 F.3d 910, 918 (8th Cir. 1994)). “This requires that the officer’s suspicion
be based upon particularized, objective facts which, taken together with rational inferences
from those facts, reasonably warrant . . . suspicion that a crime [is] being committed.”
Id. (internal quotation marks, citations omitted).
       “In evaluating whether a set of facts would give rise to reasonable suspicion, this
court must look at the totality of the circumstances and not just each independent fact
standing alone.” Id. (citing Untied States v. Cortez, 449 U.S. 411, 417, 101 S. Ct. 690,
694-95, 66 L. Ed. 2d 621 (1981)). In the present case, the totality of the circumstances
gave rise to a reasonable suspicion justifying further investigation. Hansen had relayed to
Noltze that he had information indicating Maul was involved in dealing drugs. Noltze
observed that Maul was extremely nervous, and his eyes were red and watery. In addition,
Noltze smelled the odor of marijuana coming from the car. Considering the totality of the
circumstances, the court finds the officers’ continued detention of Maul and Hawthorne
past the conclusion of the traffic stop investigation was supported by a reasonable,
articulable suspicion that criminal activity was afoot. The further intrusion was limited in
scope; the officers merely asked Maul and Hawthorne to exit the vehicle during the dog
sniff, both to avoid distracting the dog during the sniff and for their own safety. The court




                                             6


      Case 5:08-cr-04072-MWB         Document 28       Filed 10/30/08    Page 6 of 8
finds the further detention after the traffic stop, and asking Maul and Hawthorne to exit
the vehicle, was lawful.1
        Once Hawthorne dropped the marijuana grinder, and the marijuana was found on
his person, his arrest justified a search of the entire passenger compartment of the vehicle.
See United States v. Poggemiller, 375 F.3d 686 (8th Cir. 2004).2
        Maul has failed to show any legal basis for suppression of the evidence seized
during the traffic stop, and the undersigned RESPECTFULLY RECOMMENDS that his
motion to suppress be denied. Objections to this Report and Recommendation must be
filed by November 5, 2008. Responses to objections must be filed by November 10,
2008.
        IMPORTANT NOTE: Any party planning to lodge any objection to this report
and recommendation must order a transcript of the hearing by October 31, 2008,
regardless of whether the party believes a transcript is necessary to argue the
objection. If an attorney files an objection to this report and recommendation without




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        Once Noltze smelled the odor of marijuana coming from the vehicle, the officers likely had
probable cause to search the vehicle in any event under the “automobile exception” to the warrant
requirement. See, e.g., United States v. Caves, 890 F.2d 87, 89-90 (8th Cir. 1989) (citing, inter alia,
Chambers v. Maroney, 399 U.S. 42, 90 S. Ct. 1975, 26 L. Ed. 2d 419 (1970)); California v. Carney, 471
U.S. 386, 392, 105 S. Ct. 1066, 2072, 85 L. Ed. 2d 406 (1985).
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          It was the officers’ removal of Hawthorne from the vehicle that ultimately led to his arrest, the
incident search of the vehicle, and discovery of the drugs. Because the Government has not raised the issue
of whether Maul has standing to challenge the officers’ removal of Hawthorne from the vehicle, the court
will not address the issue here.

                                                    7


        Case 5:08-cr-04072-MWB             Document 28         Filed 10/30/08       Page 7 of 8
having ordered the transcript as required by this order, the court may impose sanctions on
the attorney.
      IT IS SO ORDERED.
      DATED this 30th day of October, 2008.




                                         PAUL A. ZOSS
                                         CHIEF MAGISTRATE JUDGE
                                         UNITED STATES DISTRICT COURT




                                            8


      Case 5:08-cr-04072-MWB        Document 28      Filed 10/30/08    Page 8 of 8
